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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TENNESSEE
                         WESTERN DIVISION
_________________________________________________________________

MCFADDEN COMMUNICATIONS, LLC,

                Plaintiff,

v.                                              No.: ____________

THE TRAVELERS INDEMNITY
COMPANY OF AMERICA,

               Defendant.
_________________________________________________________________

                        NOTICE OF REMOVAL
_________________________________________________________________


     Petitioner, The Travelers Indemnity Company of Connecticut

(hereinafter “Petitioner”), pursuant to 28 U.S.C. §§ 1441 et seq.,

states as follows:

     1.   Petitioner is a defendant in an action styled McFadden

Communications, LLC v. The Travelers Indemnity Company of America,

Case No. CH-09-0864, which was filed in the Chancery Court for

Shelby County, Tennessee, on April 22, 2009.                 A copy of the

Complaint filed in this action is attached hereto and made a part

hereof by reference as Exhibit 1.

     2.    Petitioner     received    service   of   the    summons   and   the

Complaint on or about May 1, 2009.       A copy of the Summons received

by Petitioner is attached hereto as Exhibit 2.

     3.   The amount in controversy in the above-described civil

action    exceeds   the    sum   of    Seventy-Five        Thousand   Dollars

($75,000.00) exclusive of interest and costs.
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     4. Upon information and belief, the Plaintiff is a citizen of

the State of Tennessee.     (See Complaint paragraph no. 1)

     5.   Petitioner is now, and was at the time of the filing of

the Complaint, a Connecticut corporation with its principal place

of business in Connecticut.

     6.   The diversity of citizenship requirement is met because

the Plaintiff is not a resident of the same state as Petitioner.

     7. Therefore, the United States District Court would have had

original subject matter jurisdiction under 28 U.S.C. § 1332.

     8.   Petitioner will give written notice of the filing of this

notice to Plaintiff, as required by 28 U.S.C. § 1446(d).

     9.   A copy of this notice will be filed with the clerk for the

Shelby County Chancery Court, located in Memphis, Tennessee, as

required by 28 U.S.C. § 1446(d).

     WHEREFORE,   Petitioner    respectfully    prays   that   the   above-

entitled action now pending against it in the Chancery Court for

Shelby County, Tennessee, proceed in this Court as an action

properly removed hereto.
                                  Respectfully Submitted,

                                  BLACK McLAREN JONES RYLAND & GRIFFEE
                                  A Professional Corporation

                                        /s/ Michael G. McLaren
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